    Case: 1:24-cv-00642-BMB Doc #: 18-8 Filed: 07/11/24 1 of 2. PageID #: 181




Notice: This opinion is subject to formal revision before publication in the Atlantic
and Maryland Reporters. Users are requested to notify the Clerk of the Court of
any formal errors so that corrections may be made before the bound volumes go
to press.

             DISTRICT OF COLUMBIA COURT OF APPEALS


No. 19-BG-485

IN RE JASON LEE VAN DYKE
                                                    2019 DDN 75
A Member of the Bar of the
District of Columbia Court of Appeals

Bar Registration. No. 1027245

BEFORE: Thompson and Beckwith, Associate Judges, and Nebeker, Senior
        Judge.

                                  ORDER
                          (FILED – December 23, 2020)

       On consideration of the certified order from the state of Texas suspending
respondent from the practice of law in that state for eighteen months, all but six
months suspended, and followed by twelve months of probation based on a criminal
conviction; this court’s November 18, 2020, order suspending respondent and
directing him to show cause why reciprocal discipline should not be imposed; the
response of respondent wherein he consents to reciprocal discipline; and the
statement of Disciplinary Counsel regarding reciprocal discipline; it appearing that
this matter began as an original bar disciplinary matter based on the criminal
conviction and that this court referred the matter to the Board on Professional
Responsibility on July 23, 2019, and the matter remains pending with the Board; and
it further appearing that respondent previously filed his D.C. Bar R. XI, §14(g)
affidavit, it is

      ORDERED that Jason Lee Van Dyke is hereby suspended from the practice
of law in the District of Columbia for a period of eighteen months, nunc pro tunc to
May 1, 2020, all but six months stayed, followed by a twelve-month period of
probation subject to the conditions imposed by the state of Texas. See In re Sibley,
   Case: 1:24-cv-00642-BMB Doc #: 18-8 Filed: 07/11/24 2 of 2. PageID #: 182




990 A.2d 483 (D.C. 2010); In re Fuller, 930 A.2d 194, 198 (D.C. 2007) (rebuttable
presumption of identical reciprocal discipline applies to all cases in which the
respondent does not participate). It is

      FURTHER ORDERED that the criminal matter referred to the Board on
Professional Responsibility is dismissed as moot.




                               PER CURIAM
